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                                     Tennessee Sex Offender Registry


                                  FORMOSA, FABIAN MARIEUS
                                  OFFENDER ID: 00123279
                                  ABSCONDER
                                  LAST KNOWN WHEREABOUTS: Dickson, TN
                                  ALIASES
                                  FORMOSA, FABIAN MARIUS; FORMOSA, FABRIN MARIEUS; FORMOSA,
                                  FABIAN MARIEUS




          CLASSIFICATION/STATUS
            CLASSIFICATION
             VIOLENT
            STATUS
             ABSCONDER

          OFFENSES
               DATE OF OFFENSE          DESCRIPTION                    TCA CODE

               05/06/1987               AGGRAVATED RAPE                 39-2-603 OR 39-13-502

          ADDRESSES
            PRIMARY
            000 ABSCONDER, DICKSON, TN 37055 (DICKSON County)
            Agency: DICKSON CO SO

          VEHICLES
            VEHICLE
            2014 WHITE FORD F150 (PICKUP)
            TAG: 2X19U9, TN




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          CRIMINAL HISTORY
               DATE         CHARGE                                                DISPOSITION

               2021-        40-39-203 VIOLATION OF SEX OFFENDER
               09-15        REGISTRY ADDRE

               2021-
                            CRIMINAL TRESPASS
               09-01

               2021-
                            BURGLARY - AGGRAVATED
               09-01

               2021-
                            THEFT OF PROPERTY-$1,000 OR LESS
               09-01

               2021-
                            DRUG PARAPHERNALIA- UNLAWFUL USE
               09-01

               2021-
                            DRIVING UNDER THE INFLUENCE
               06-10

               2021-
                            DRUG PARAPHERNALIA- UNLAWFUL USE
               06-10

               2021-        SEX OFFENDER REGISTRATION VIOL.-1ST
               02-25        OFFENSE

               2021-        SEX OFFENDER REGISTRATION VIOL.-1ST
               02-25        OFFENSE

               2019-
                            FAILURE TO BE BOOKED
               10-10

               2019-
                            DRUG PARAPHERNALIA- UNLAWFUL USE
               08-06

               2016-
                            CRIMINAL TRESPASS
               03-29

               2016-        SEX OFFENDER REGISTRATION VIOL.-1ST
               03-09        OFFENSE

               2015-        SEX OFFENDER REGISTRATION VIOL.-1ST                   GUILTY PLEA - LESSER
               05-13        OFFENSE                                               CHARGE`

               2015-        SEX OFFENDER REGISTRATION VIOL.-1ST                   GUILTY PLEA - LESSER
               05-13        OFFENSE                                               CHARGE`

               2014-        ASSAULT, AGGRAVATED - DEADLY WEAPON -
               11-22        INT/KN

               2014-        SEX OFFENDER REGISTRATION VIOL-1ST
               06-28        OFFENSE

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               DATE         CHARGE                                              DISPOSITION

               2012-        SEXUAL OFFENDER REGISTRATION FORM                   Guilty Plea Lesser
               09-15        CONTENTS REQUIRE                                    Charge

               2012-
                            POSS. OR CASUAL EXCHANGE-CONT.SUB.                  GUILTY
               09-06

               2011-
                            POSS. OR CASUAL EXCHANGE-CONT.SUB.                  RETIRED
               09-18

               2011-
                            DRUG PARAPHERNALIA- UNLAWFUL USE                    RETIRED
               09-18

               2011-
                            POSS. OR CASUAL EXCHANGE-CONT.SUB.                  GUILTY
               09-08

               2007-
                            PROBATION VIOLATION (MIS)
               09-14

               2006-                                                            GUILTY PLEA - AS
                            DRIVING, RECKLESS
               12-27                                                            CHARGED

               2006-
                            FUGITIVE FROM JUSTICE                               DISMISSED
               10-27

               1998-
                            DRIVING, RECKLESS                                   DISMISSED
               06-02

               1982-        CARRYING PR0HITIED WEAP0N 25 AUT0 5203
                                                                                $50 FINE $12 C 06-30-82
               06-28        GUN

          DEMOGRAPHICS
            HAIR                                        EYES
            BROWN                                       GREEN

            GENDER                                      RACE
            MALE                                        WHITE

            HEIGHT                                      WEIGHT
            510                                         200

            DOB                                         DRIVER'S LICENSE
            02/21/1956                                  042873951, TN

          OTHER
            LAST REGISTRATION/REPORT DATE
            06/15/2021 (9 months ago)
            LAST DATE INFORMATION UPDATED
            03/10/2022 (17 days ago)
            REGISTERING AGENCY
            DICKSON CO SO
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            *Note: In the field entitled Last Registration/Report Date, the term "Not Available" indicates The Tennessee
            Bureau of Investigation has not received offender information as directed by T.C.A. 40-39-201 et. seq. The
            Website is updated daily based on information submitted to the TBI.


          DISCLAIMER
          The Tennessee Sex Offender Registry exists as a public information resource, allowing citizens to take proactive measures to ensure
          safety in their communities. Misuse of this information by individuals or groups to commit crimes (to include, but not limited to, threats,
          intimidation, stalking, or harassment) may be subject to prosecution or the potential of civil liability.
          The information contained in the Tennessee Sex Offender Registry has been provided to TBI by the offender’s registering agency. The
          TBI does not guarantee the accuracy of this information. If you have reasonable proof that any of the information contained in an
          offender’s profile is inaccurate, please contact the offender’s registering agency, as listed above.
          Because the Tennessee Sex Offender Registry database is updated daily, the accuracy of any offender information that is viewed and/or
          printed can only be assured on the day that it is viewed and/or printed.




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